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1    McGREGOR W. SCOTT
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     Assistant U.S. Attorney
3    Chief of Appeals
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4    Sacramento, California 95814
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5
6
7
8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )
12             Respondent,         )          2:02-cr-0213 MCE CMK
                                   )          2:07-cv-2724 MCE CMK
13        v.                       )
                                   )          ORDER GRANTING
14   MIGUEL HERNANDEZ-MUNGUIA,     )          RESPONDENT’S SECOND REQUEST
                                   )          FOR AN EXTENSION OF TIME
15             Movant.             )
     ______________________________)
16
17        IT IS HEREBY ORDERED that respondent’s second request for an
18   extension of time until June 26, 3008, in which to file its response
19   to Hernandez-Munguia’s §2255 petition is GRANTED.
20
21
22
     DATED:   May 27, 2008
23
                                        __________________________________
24                                      ____
                                        CRAIG M. KELLISON
25                                      UNITED STATES MAGISTRATE JUDGE
26
27
28

                                          1
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1                        CERTIFICATE OF SERVICE BY MAIL
2         The undersigned hereby certifies that she is an employee in the
3    Office of the United States Attorney for the Eastern District of
4    California and is a person of such age and discretion to be
5
     competent to serve papers.
6
          That on May 27, 2008, she served a copy of [Proposed] Order
7
     Granting Respondent’s Second Request for an Extension of Time by
8
     placing said copy in a postpaid envelope addressed to the person(s)
9
     hereinafter named, at the place(s) and address(es) stated below,
10
     which is/are the last known address(es), and by depositing said
11
     envelope and contents in the United States Mail at Sacramento,
12
13   California.

14   Addressee(s):

15   Miguel Hernandez-Munguia
     Fed. Reg. 13744-097
16   FCI Taft
     P.O. Box 7001
17   Taft, CA 93268
18                                         /s/ CARRIE D. QUIRK
                                           CARRIE D. QUIRK
19
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22
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26
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28
